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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

   LAN LI, et al.,                                    )
                                                      )
   Plaintiffs,                                        )
                                                      )
   v.                                                 ) Civil Action No. 16-81871-Civ-Marra
                                                      ) LEAD CASE
   JOSEPH WALSH, et al.,                              )
                                                      )
   Defendants.                                        )
                                                      )
   LAN LI, et al.,                                    )
                                                      )
   Plaintiffs,                                        )
                                                      )
   v.                                                 ) Civil Action No. 19-80332-Civ-Marra
                                                      )
   PNC BANK N.A., and RUBEN RAMIREZ,                  )
                                                      )
   Defendants.                                        )
                                                      )

         PLAINTIFFS’ MOTION TO COMPEL AND FOR SANCTIONS REGARDING
             WRITTEN DISCOVERY REQUESTS TO JOSEPH J. WALSH, JR.

          NOW COMES the Plaintiffs, LAN LI, WANG SHUANGYUN, ZHANG, WENHAO,

   SHI SHA, LOU HAO, XIANG CHUNHUA, KUANG YAOPING, ZHU BEI, DENG QIONG,

   ZHU QIONGFANG, GAN ZHILING, LI CUILIAN, TANG YULONG, ZHANG LILI, RAN

   CHEN, JUNQIANG FENG, XIANG SHU, YING TAN, XIONG TAO, WANG YUANBO,

   JIANG SHU, FEI YING, LI CHAOHUI, WEI RUJING, ZHOU JUEWEI, CHEN YAN, GU

   CHENGYU, PAN HONGRU, ZHU DONGSHENG, LI MIN, YE CHUNNING, KANG

   YAJUN, TANG CHEOK FAI, LI DONGSHENG, WANG XIAONAN (collectively the

   “Chinese Plaintiffs”), REZA SIAMAK NIA, MOHAMMADREZA SEDAGHAT,

   MOHAMMAD ZARGAR, ALI ADAMPEYRA, SHAHRIAR EBRAHIMIAN (collectively the

   “Iranian Plaintiffs”), and HALIL ERSEVEN (the “Turkish Plaintiff”), (collectively the

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   “Represented Plaintiffs”), by and through their undersigned counsel, and pursuant to the Federal

   Rule of Civil Procedure (“FRCP”) 37 and Local Rule 26.1(g), submits this Motion to Compel

   Responses to Discovery from JOSEPH J. WALSH, JR., (“Walsh Jr.”). As the basis for this

   motion, Represented Plaintiffs state as follows:

   I.         Introduction and Background

          As this Court is doubtlessly aware, Walsh Jr., effectively removed himself from these

   proceedings beginning in November of 2018, when Walsh Jr., filed his last pleading with the

   Court [D.E. 384]. Counsel for Walsh Jr., filed a Motion to Withdraw on May 23, 2019 [D.E.

   467], and it was granted by this Court on June 10, 2019 [D.E. 469]. As of September 17, 2019,

   this Court had received two separate notices of undeliverable mail and declared that the Court

   would no longer send notices to Walsh Jr., until a new address was provided for service [D.E.

   540]. No such new address has been provided to date.

          On May 15, 2020, Represented Plaintiffs propounded their First Set of Interrogatories

   and Requests for Admission as well as their Second Set of Requests to Produce upon Walsh Jr.,

   via email and first-class mail. Copies of these Discovery Requests are attached hereto as Exhibit

   “A.” Represented Plaintiffs delivered a copy of the requests by first-class mail and also by email

   to the last known email address for Walsh Jr.

          On May 31, 2020, Represented Plaintiffs noticed Walsh Jr.’s deposition to take place on

   June 12, 2020, at the offices of Represented Plaintiffs’ local counsel Matthew Fornaro, located in

   Coral Springs, Broward County, Florida. A copy of the Notice of Taking Deposition of Joseph J.

   Walsh, Jr., is attached hereto as Exhibit “B.” Represented Plaintiffs are moving separately for an

   order based upon Walsh Jr.’s failure to appear at his deposition.




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            Walsh Jr., did not appear for his duly noticed deposition on June 12, 2020. The

   Certificate of Non-Appearance (the “CNA”) is attached hereto as Exhibit “C.” Walsh Jr., has

   never received, let alone sought, a protective order for any responses to Plaintiffs’ discovery

   requests or for his deposition. This is the latest example of the brazen pattern of disrespectful

   behavior exhibited by Walsh Jr., towards this Court, these Plaintiffs, and these judicial

   proceedings in general.

           Represented Plaintiffs have been, are, and will continue to be, prejudiced by Walsh Jr.’s

   failure to participate and cooperate in discovery, specifically by failing to appear for his

   deposition and failing to respond to Represented Plaintiffs’ discovery requests. As a direct result

   of Walsh Jr.’s failure to participate or cooperate in the discovery process, Represented Plaintiffs

   have incurred additional attorney’s fees and costs, including but limited to the expense of

   obtaining the CNA.

   II.         Argument

           A. The Court Should Sanction Joseph J. Walsh, Jr., for his Failure to Answer or
              Respond to Written Discovery Requests

           Represented Plaintiffs served their First Set of Interrogatories and Requests for

   Admission in tandem with their Second Set of Requests to Produce upon Walsh Jr., on May 15,

   2020 via email and first-class mail. Responses to those requests were due to be received by

   Represented Plaintiffs 30 days later, on June 15, 2020. See FRCP 33(b)(2) and 34(b)(2).

   Notwithstanding this requirement, Represented Plaintiffs have not received a response to any of

   their requests.

           FRCP 37(d)(1)(A)(ii) provides that this Court may, in its discretion and upon motion,

   order sanctions against Walsh Jr., for his failure to answer and respond to Represented Plaintiffs’

   Interrogatories, Requests for Admission and Requests to Produce. Given the recent pattern of

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   conduct by Walsh Jr., it is apparent that Walsh Jr., has abandoned his efforts to defend this suit,

   and that his failure to appear at his duly-noticed deposition was willful and unexcused.

          FRCP 37(d)(3) authorizes a court to impose a myriad array of sanctions against

   noncompliant parties who fail to answer or respond to written discovery requests, including

   awarding fees and costs to the movant, up to striking the noncompliant party’s pleadings and

   entering a default judgment against them. “The extensive sanctions available to courts under

   Rule 37 for failure to comply with discovery…are necessary to compensate the court and parties,

   facilitate discovery and deter abuse of the discovery process.” Sutherland v. Mesa Air Group,

   Inc., 98-10061-CIV, 2003 WL 21402549, at *2 (S.D. Fla. June 6, 2003) (court struck answer and

   entered default judgment against noncompliant party). Pro Se parties are subject to the same

   rules and sanctions as represented parties under FRCP 37. See Moon v. Newsome, 863 F.2d 835,

   837 (11th Cir. 1989).

          FRCP 37 does not require a court to formally issue an order compelling discovery prior

   to authorizing sanctions. See Allstate Ins. Co. v. Palterovich, No 04-21402, 2008 WL 2741119,

   at *1, n.2 (S.D. Fla. 2008). In this circumstance in particular, Plaintiffs respectfully submit that

   sanctions are warranted against Walsh Jr., for failure to respond to written discovery requests.

   As a party to this action, Walsh Jr., is obligated to participate in the discovery process, and

   despite being given such proper and reasonable notice as is required under FRCP 33, 34, and 36,

   he willfully failed to do so. Pursuant to FRCP 37(d)(3), an order of sanctions striking his

   pleadings and entering a notice of default against Walsh Jr., here would be appropriate.

          Prior to the imposition of a default judgment sanction against a noncompliant party under

   FRCP 37, courts within the Eleventh Circuit must satisfy the following test: (i) willful or bad

   faith noncompliance by the defendant; (ii) prejudice to the opposing party; and (iii) no adequate



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   lesser sanctions are available to the opposing party. See Malautea v. Suzuki Motor Company,

   Ltd., 987 F.2d 1536, 1542 (11th Cir. 1993). A finding of bad faith can be had where the

   noncompliant party “has made the discovery process…unnecessarily complicated and difficult.”

   Silver Creek Farms, LLC v. Fullington, 16-80353-CV-MARRA/MATTHEWMAN, 2017 WL

   4339650, at *5 (S.D. Fla. 2017) (noncompliant party “constantly” changed counsel, ignored

   court orders to participate in discovery, and did not respond to written discovery requests).

   Walsh Jr.’s counsel withdrew from the case more than a year ago, and since no new counsel has

   appeared on his behalf, he is therefore an unrepresented Pro Se party in this proceeding. Walsh

   Jr., has made no affirmation of an intention to comply with any discovery requests or orders in

   this matter and has insisted on continued willful noncompliance. Represented Plaintiffs have

   been, are, and will continue to be, prejudiced by Walsh Jr.’s failure to participate or cooperate in

   the discovery process. As a party to the proceedings, Walsh Jr., is capable of providing relevant

   and potentially crucial information surrounding Represented Plaintiffs’ claims. In light of an

   apparent disregard for proceedings before this Court, it would appear that Walsh Jr., has

   effectively bowed out from the action at hand. Subsequently, at this juncture, there are no lesser

   adequate sanctions available.

          Accordingly, Represented Plaintiffs request the imposition of sanctions against Walsh Jr.,

   for failure to respond to written discovery requests pursuant to FRCP 37(d)(3). Specifically,

   Represented Plaintiffs request sanctions of striking the pleadings of Walsh Jr., and entering a

   notice of default pursuant to FRCP 37(b)(2)(A)(iii) and FRCP 37(b)(2)(A)(vi). Represented

   Plaintiffs request the imposition of additional sanctions against Walsh Jr., of fees and costs

   pursuant to FRCP 37(a)(5) and 37(d)(3).




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          B. The Court Should Deem Each Request for Admission as Admitted

          In addition, pursuant to FRCP Rule 36(a)(3), a “matter is admitted unless, within 30 days

   after being served, the party to whom the request is directed serves on the requesting party a

   written answer or objection addressed to the matter and signed by the party or its attorney.”

   Represented Plaintiffs served their First Set of Requests for Admission upon Walsh Jr., on May

   15, 2020 via email and first-class mail. Represented Plaintiffs served these discovery requests

   upon Walsh Jr., at his last known address as provided to this Court. Responses to those requests

   were due to be received by Represented Plaintiffs 30 days later, on June 15, 2020. See FRCP

   36(a)(3). Notwithstanding this procedural requirement, Represented Plaintiffs have not received

   a response to any of their requests.

          Walsh Jr., did not respond to this discovery request within 30 days of service nor did he

   request an extension of time within which to do so. See e.g., Affonso v. Se. Fla. Transp. Grp.,

   LLC, No. 14-81309-CIV, 2016 WL 7507851, at *1-2 (S.D. Fla. Apr. 29, 2016) (deeming matters

   to have been admitted where the opposing party failed to respond or otherwise seek an extension

   of time to respond).

          In light of his ongoing pattern of flouting the orders of this Court and this specific

   instance of ignoring Represented Plaintiffs duly propounded Requests for Admission,

   Represented Plaintiffs respectfully request that this Court deem each of the requests as admitted.

          C. In the Alternative, the Court Should Compel Joseph J. Walsh, Jr., to Respond to
             the Interrogatories, Requests for Admission, and Requests to Produce

          In the alternative, if the Court declines to impose sanctions under FRCP 37(d)(3) and

   pursuant to FRCP 36(a)(3), Represented Plaintiffs move for an entry of an order compelling

   Walsh Jr., to answer and respond to their Interrogatories, Requests for Admission, and Requests

   to Produce. FRCP 37(a)(3)(B)(iii) – (iv) permits Represented Plaintiffs to seek an order

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   compelling discovery or disclosure by a noncompliant party specifically discovery or disclosure

   pertaining to duly propounded Interrogatories and Requests to Produce.

          Represented Plaintiffs served their First Set of Interrogatories and First Set of Requests

   for Admission in tandem with their Second Set of Requests to Produce upon Walsh Jr., on May

   15, 2020 via email and first-class mail. Represented Plaintiffs served these discovery requests

   upon Walsh Jr., at his last known address as provided to, and known by, this Court. Responses

   to those requests were due to be received by Represented Plaintiffs 30 days later, on June 15,

   2020. See FRCP 33(b)(2) and 34(b)(2). Notwithstanding this procedural requirement,

   Represented Plaintiffs have not received a response to any of their requests.

          In accordance with FRCP 37(a)(3)(B) any party “seeking discovery may move for an

   order compelling an answer, designation, production, or inspection” if a party “fails to answer an

   interrogatory submitted under Rule 33,” or if a party “fails to produce documents or fails to

   respond that inspection will be permitted…as requested under Rule 34.” See FRCP

   37(a)(3)(b)(iii) – (iv). In the alternative, should this Court decline to impose sanctions against

   Walsh Jr., Represented Plaintiffs respectfully request that this Court, in its discretion, issue an

   order compelling Walsh Jr., to respond to Plaintiffs’ First Set of Interrogatories and Requests for

   Admission and Second Set of Requests to Produce.

   III.       Conclusion

          Accordingly, Represented Plaintiffs respectfully request that this Court enter an order for

   the following relief: (a) imposing sanctions on Joseph J. Walsh, Jr., in the form of striking his

   pleadings to permit entry of default, along with fees and costs incurred in bringing this motion;

   (b) an order granting Represented Plaintiffs their reasonable attorney’s fees and costs for

   bringing this motion pursuant to FRCP 37(a)(5); (c) an order deeming each Request as set forth



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   in Represented Plaintiffs’ First Set of Requests for Admission to be admitted pursuant to FRCP

   36(a)(3); (d) an order compelling Joseph J. Walsh, Jr., to respond to Represented Plaintiffs’ First

   Set of Interrogatories and Requests for Admission and Second Set of Requests to Produce

   pursuant to FRCP 37(a)(3)(B); and (e) any other and such further relief as the Court finds just

   and proper.

          LOCAL RULE 7.1(a)(3) AND FRCP 37(a)(1) AND 37(d)(1)(B) GOOD FAITH
                                   CONFERENCE

          Counsel for Represented Plaintiffs hereby certifies that they have attempted to confer

   with all parties and/or non-parties who may be affected by the relief sought in this motion in a

   good faith effort to resolve by agreement (without court action) the issues raised in this motion

   and have been unable to do so.



   Dated: New York, New York
          June 19, 2020
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                                     CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on June 19, 2020, the foregoing document is being served this
      day on all counsel of record or pro se parties identified on the attached Service List in the
      manner specified, either via e-mail or U.S. Mail.

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                                    Case No. 9:16-cv-81871-KAM


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